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                    EXHIBIT B
                    February Fee Application
                                                                                                                                                 /(7'1 f'..
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                               IN TH UNITED STATES BANKUPTCY COURT
                                                FOR THE DISTRCT OF DELA WARE

In re:                                                                 ) Chapter 11
                                                                       )
W. R. GRACE & CO., et al.,1                                            ) Case No. 01-1139 (JK)
                                                                       )
Debtors.                                                               ) (Jointly Administered)

                                                                             Objection Deadline: April 28, 2008 at 4:00 p.m.
                                                                             Hearing Date: TBD only if necessary


      SUMARY OF THE SEVENTY-SEVENTH MONTHLY APPLICATION OF
      CASNER & EDWARS, LLP FOR COMPENSATION FOR SERVICES AN
REIMBURSEMENT OF EXPENSES AS SPECIAL LITIGATION COUNSEL TO DEBTORS
    FOR THE PERIOD FROM FEBRUARY 1, 2008 THROUGH FEBRUARY 29, 2008

Name of Applicant:                                                                      Casner & Edwards, LLP

Authorized to Provide Professional Services to:                                         W. R. Grace & Co., et aI., Debtors and
                                                                                        Debtors-in-Possession

Date of Retention:                                                                       September 18,2001,
                                                                                         effective as of September 18,2001

Period for which compensation and                                                       Februar 1,2008 though
reimbursement is sought:                                                                 Febru 29, 2008




           I The Debtors consist of   the following 62 entities: W. R. Grace & Co. (f/kla Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn.,
A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f7a Circe Biomedical, Inc.), CCHP,
Inc., Coalgrace, Inc., Coalgrace n, Inc., Creative Food ;oN Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
(J7a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (flkla Grace Cocoa Limited Partners I, Inc.), G C
Management, Inc. (fJa Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Driling
Company, Grae Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services
Corporation, Grace International Holdings, Inc. (fla Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
Petrleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grce Washington, Inc., W. R. Grace Capital Corporation, W. R.
Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Devclopment Corporation, Hanover Square Corpration, Homco
International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f//a GHSC Holding, Inc., Grace NH,lnc.,
Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings Corporation),
MRA lnterredco, Inc. (f7k1a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (flkla British Nursing Association, Inc.), Remedium Group, Inc. (f//a
Environmental Liability.Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
Corporation, Axial Basin Ranch Company, CC Partners (f/a Cross Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.
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 Amount of Compensation sought as actul,
 reasonable, and necessar:                                                                 $10,699.00 (80% = $8,559.20)

 Amount of            Expense Reimbursement sought as
 actual, reasonable, and necessar:                                                         $12,800.90

 This is an:               X monthly                interim         _ final application

 Prior Applications fied: Yes.




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                                                                                                                 . J\~f~l t~1~r~'?;S,~f~~~~~~~~~J::\

  i 2/4/0 I         9/18/0 I through 10/31/0 i         $25,904.00            $3,139.72         No objections served      No objections served
                                                                                               on counsel                on counsel


  1/09/02            11/01/01 through l1ßO/OI         $117,210.00            $6,57   l.   5    No objections served      No objections served
                                                                                               on counsel                on counsel


  1/28/02            12/01/01 through 12ß1/01         $146,802.00            $4,083.28         No objections served      No objections served
                                                                                               on counsel                on counsel


 3/15/02            01/01/02 through 01ß1/02          $201,024.50              $908.76         No objections served      No objections served
                                                                                               on counsel                on counsel


 4/11/02             02/01/02 through 02/28/02        $186,585.00             $2,638.22        No objections served      No objections served
                                                                                               on counsel                on counsel


  5/9/02            03/01/02 through 03/31/02         $194,087.00            $92,484.17        No objections served      No objections served
                                                                                               on counsel                on counsel


  6/4/02             04/01/02 through 04/30/02        $222,932.00            $29,238.08        No objections served      No objections served
                                                                                               on counsel                on counsel


  7/12/02            05/01/02 through 05/31/02        $246,778.00            $14,876.86        No objections served      No objections served
                                                                                               on counsel                on counsel



  8/6/02             06/01/02 through 06/30/02        $144,857.00            $15,005.61        No objections served      No objections served
                                                                                               on counsel                on counsel



  9/17/02            07/01/02 through 07/31/02         $70,348.00            $17,801.90        No objections served      No objections served
                                                                                               on counsel                on counsel


  10/18/02           08/01/02 through 08/31/02         $58,072.00            $14,910.59        No objections served      No objectons served
                                                                                               on counsel                on counsel


  11/14/02           09/01102 through 09ßO/02          $40,335.00             $4,535.47        No objections served      No objections served
                                                                                               on counsel                on counsel


  12/16/02           10/01/02 through 10/31/02         $36,393.00            $17,499.87        No objections served      No objections served
                                                                                               on counsel                 on counsel




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1/1/03     I I/O 1/02 through 11/30/02      $43,910.00         $2,331.21      No objections served    No objections served
                                                                              on counsel              on counsel



2/1 1/03   12/01/02 through 12/31/02        $39,703.00     $26,001.22         No objections served    No objectons served
                                                                              on counsel              on counsel


3/31/03    01/01/03 though 01/31/03         $36,572.00     $13,818.89         No objections served    No objections served
                                                                              on counsel              on counsel

5/13/03    02/01/03 through 02/28/03        $37,363.00         $1,050.11      No objections served    No objections served
                                                                              on counsel              on counsel


5/13/03    03/01/03 through 03/31/03        $35,519.00     $16,988.05         No objections served    No objections served
                                                                              on counsel              on counsel



7/11/03    04/01/03 through 04/30/03        $30,037.50     $14,427.54         No objections served    No objections served
                                                                              on counsel              on counsel



8/1/03     05/01/03 through 05/31/03        $11,420.00     $12,560.93         No objections served    No objections served
                                                                              on counsel              on counsel



8/1/03     06/01/03 through 06/30/03         $9,586.00     $13,073.04         No objections served    No objections served
                                                                              on counsel              on counsel



9/29/03    07/0 i /03 through 07/31/03       $8,858.00     $12,888.56         No objections served    No objections served
                                                                              on counsel              on counsel


11/6/03    08/01/03 through 08/31/03        $ I 0,256.50   $13,076.13         No objections served    No objections served
                                                                              on counsel              on counsel



11/13/03   09/01/03 though 09/30/03         $14,009.00     $13,261.68         No objections served    No objections served
                                                                              on counsel              on counsel



12/12/03   10/01/03 throogh 10/31/03        $19,884.00     $13,458.15         No objections served    No objections served
                                                                              on counsel              on counsel



1/23/04    11/01/03 through 11/30/03        $12,019.00     $13,196.18         No objections served    No objections served
                                                                              on counsel              on counsel


2/1 1/04   12/01/03 through 12/31/03         $5,318.00           $500.3       No objections served    No objections served
                                                                              on counsel              on counsel



3/ 16/04   o i /0 i /04 through 01/3 1/04   $14,274.50         $25,666.53     No objections served    No objections served
                                                                              on counsel              on counsel



4/13/04    02/01/04 through 02/29/04         $9,658.50         $13,08&.71     No objections served    No objections served
                                                                               on counsel              on counsel



 5/12/04   03/01/04 through 03/31/04        $16,421.00         $13,349.16      No objections served   No objections served
                                                                               on counsel              on counsel


 6/14/04   04/01/04 through 04/30/04        $15,745.00         $12,624.56      No objections served   No objections served
                                                                               on counsel              on counsel


 7/1/04     05/01/04 through 05/31/04         $6,487.00        $26,540. i 0    No objections served    No objections served
                                                                               on counsel              on counsel




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8/1704      06/01/04 through 06/30/04     $11,018.50            $9,909.39     No objections served   No objections served
                                                                              on counsel             on counsel


9/13/04     07/01/04 through 07/31/04     $13,651.00           $12,386.12     No objections served   No objections served
                                                                              on counsel             on counsel


10/15/04    08/01/04 through 08/31/04     $38,791.00           $14,000.00     No objections served   No objections served
                                                                              on counsel             on counsel


11 /15/04   09/01/04 through 09/30/04     $ i 4, i 42.00       $15,951.89     No objections served   No objections served
                                                                              on counsel             on counsel


12/15/04    10/0 1/04 through 10/31/04     $4,177 .00          $25,118.55     No objections served   No objections served
                                                                              on counsel             on counsel

1/6/05      11/01/04 through 11/30/04     $31,459.00            $2,839.36     No objectons served    No objections served
                                                                              on counsel             on counsel


1/27/05     12/01/04 through 12/31/04     $29,299.00           $17,17791      No objections served   No objections served
                                                                              on counsel             on counsel


3/25/05     1/01/05 through 1/31/05       $14,713.00           $ i 4,317.79   No objectons served    No objections served
                                                                              on counsel             on counsel

5/10/05     2/01/05 through 2/28/05       $20,275.00           $13,251.6      No objections served   No objections served
                                                                              on counsel             on counsel


5/16/05     03/01/05 through 03/31/05     $11,160.00           $11,684.66     No objections served   No objections served
                                                                              on counsel             on counsel


7m05        04/01/05 through 04130/05     $27,127.00           $15,371.64     No objections served   No objections served
                                                                              on counsel             on counsel


7/20/05     05/01/05 through 05/31/05     $16,428.00           $15,260.16     No objections served   No objections served
                                                                              on counel              on counsel


8/2/05      06/01/05 through 06/30/05     $ i 8,474.00         $12,190.01     No objections served   No objections served
                                                                              on counsel             on counsel

9/9/05      07/01/05 through 07/31/05     $21,231.00           $13,876.31     No objections served   No objections served
                                                                              on counsel             on counsel


9/30/05     08/01/05 through 08/31/05     $17,306.50           $12,851.7      No objections served   No objectons served
                                                                              on counsel             on counsel


11/14/05    09/01/05 through 09/30/05     $19,252.50           $13,258.24     No objections served   No objections served
                                                                              on counsel             on counsel


12/15/05    10/01105 through 10/31/05     $24,069.00           $15,964.63     No objections served   No objections served
                                                                              on counsel             on counsel


1/3 1/06    i i/O 1/05 through 11/30/05   $38,027.50           $15,003.91     No objections served   No objections served
                                                                              on counsel             on counsel


2/14/06     12/01/05 through 12/31/05     $87,777.50           $13,260.33     No objections served   No objections served
                                                                              on counsel             on counsel




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3/31/06    01/01/06 though 01/31/06    $30,680.00    $17,353.33      No objections served    No objections served
                                                                     on counsel              on counsel

5/1/06     02/01/06 though 02/28/06    $32,949.50    $22,535.61      No objections served    No objections served
                                                                     on counsel              on counsel


5/23/06    03/01/06 through 03/31/06   $60,885.50    $15,296.96      No objections served    No objections served
                                                                     on counsel              on counsel


6/8/06     04/01/06 through 04/30/06   $23,816.00    $15,047.10      No objections served    No objections served
                                                                     on counsel              on counsel



7/18//06   05/01/06 though 05/31/06    $27,090.50    $15,330.01      No objections served    No objections served
                                                                     on counsel              on counsel


8/14/06    06/01/06 through 06/30/06   $33,544.50   - $11,97734      No objections served    No objections served
                                                                     on counsel              on counsel


9/12/06    07/01/06 through 07/31/06   $16,289.50    $15,153.31      No objections served    No objections served
                                                                     on counsel              on counsel


10/18/06   08/01/06 through 08/31/06   $34,312.00    $ 14,214.01     No objections served    No objections served
                                                                     on counsel              on counsel


11/21/06   09/01/06 through 09/30/06   $35,495.50    $13,202.34      No objections served    No objections served
                                                                     on counsel              on counsel



12/15/06   10/01/06 through 10/31/06   $33,865.00    $22,086.20      No objections served    No objections served
                                                                     on counsel              on counsel



1/16/07    11/01/06 through 11/30/06   $33,796.00    $15,221.9       No objections served    No objections served
                                                                     on counsel              on counsel



3/1/07     12/01/06 through 12/31/06   $19,813.00    $14,435.75      No objections served    No objections served
                                                                     on counsel              on counsel



3/2/07     01/01/07 through 01/31/07   $19,909.50    $12,083.70      No objections served    No objections served
                                                                     on counsel              on counsel



4/10/07    02/01/07 through 02/28/07   $24,635.00       $11,730.70   No objections served    No objections served
                                                                     on counsel              on counsel



5/14/07    03/01/07 through 03/31/07   $20,829.50       $12,765.08   No objections served    No objections served
                                                                     on counsel              on counsel



6/8/07     04/01/07 through 04/30/07    $9,905.00       $17,538.92   No objections served    No objections served
                                                                      on counsel              on counsel



 7/5/07    05/01/07 through 05/31/07    $7,235.00       $12,837.38   No objections served    No objections served
                                                                      on counsel              on counsel



 8/15/07   06/01/07 through 06/30/07   $16,160.00       $11,034.32    No objections served   No objections served
                                                                      on counsel              on counsel




                                                    5
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09/12/07        07/0 lI07 through 07/31/07            $15,613.50              $ 1 4,361.88       No objections served          No objections served
                                                                                                 on counsel                    on counsel


10/10/07        08/0 lI07 through 08/31/07            $18,956.00              $12,010.22         No objections served          No objections served
                                                                                                 on counsel                    on counsel


10/3l107        09/0 lI07 though 09/30/07               $6,938.50             $14,182.33         No objections served          No objections served
                                                                                                  on counsel                    on counsel


i 2/1 7/07      10/0 1107 through 10/31107            $16,557.00              $12,003.26 .        No objections served         No objections served
                                                                                                  on counsel                    on counsel


1117/08         11/01/07 through 11/30/07             $ i 2,850.00            $12,756.91          No objections served          No objections served
                                                                                                  on counsel                    on counsel


2/8/08          12101/07 through 12/31/07              $12,508.00              $11,948. i 5       No objections served          No objections served
                                                                                                  on counsel                    on counsel



3/19/08         01/01/08 through 01/31/08              $16,372.50              $11,960.75         Pending                       Pending

4/708           02/01108 through 02/29/08              $10,699.00              $12,800.90         Pending                       Pending




As indicated above, this is the seventy-seventh application for moIithly interim compensation of
services fied with the Bankruptcy Cour in the Chapter 11 Cases.2

The total time expended for the preparation of this application is approximately 1.4 hours, and the
corresponding estimated compensation that wil be requested in a futue application is approximately
$413.00.

The Casner attorneys and paraprofessionals who rendered professional services in these cases during
the Fee Period are:




             2 Aliy capitalized terms not defined herein have the meaning ascribd to them in the Verified Application of    Casner & Edwards LLP for
 Compensation for Services and Reimbursement of      Expenses as Special Litigation Counsel to Debtors, for the Fift Monthly Interim Period from
 February 1,2002 through February 28, 2002. .



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                                                              Fee Summar
                                                (see Exhbit A to the Fee Detail)




Robert A. Murphy            Senior Counsel 4 1                 Litigation                 $295.00                    1.80             $531.00

Robert A. Murphy            Senior Counsel 41                  Litigation               No Charge                   0.10                  $0.00

Matthew T. Murphy           Associate 20                       Litigation                 $255.00                   2.00              $510.00




                                                                                                                   87.80

    TOTALS                                                                                                         91.70           $10,699.00


                                                                            Total Fees:                         $10,699.00




                                                          Expense Sumar

                                                 (see Exhibit B to the Fee Detail)

 '.':',-.;,.:~\.,       ..' .'" '.ExnensêCaiël!'&rY();;'!~9/Y!;";'('~":":';;":" dx.,:ddr\:'i~t~!~ ;;id'!:'~,;;£;t :.,,! ExrlensëL'+ /:;
Federal Express                                                                                                                      $51.07

Outside Photocopying                                                                                                                 $36.38

Photocopying                                                                                                                          $1.90

Rent Reimbursement                                                                                                              $12,308.95

Miscellaneous                                                                                                                       $402.60

TOTAL                                                                                                                           $12,800.90


                                                                                Total Expenses:                 $12,800.90




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                                       Compensation Sumary By Project Category




Litigation and Litigation Consulting                                                   90.85    $10,463.00

Fee Applications, Applicant                                                             0.85         $236.00

Expenses                                                                              N/A       $12,800.90

TOTALS                                                                                 91.70    $23,499.90




Dated: April 7, 2008                                 CASNER & EDWARS, LLP


                                                          R~' fl
                                                     Robert A. Murhy (BB #36 700)
                                                     303 Congress Street, 2nd Floor
                                                     Boston, MA 02210
                                                     (617) 426-5900

                                                     Special Litigation Counsel



52000.57/434197.1




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                                IN THE UNITED STATES BANRUPTCY COURT
                                                 FOR THE DISTRICT OF DELA WARE

Inre:                                                                   )      Chapter i 1
                                                                        )
W. R. GRACE & CO., et~1                                                 )      Case No. 01-1139 (JK)
                                                                        )
Debtors.                                                                )      (Jointly Administered)
                                                                               Objection Deadline: April 28,2008 at 4:00 p.m.
                                                                               Hearing.Date: TBD only if  necessary



                          FEE DETAIL FOR CASNER & EDWARDS, LLP'S
                        SEVENTYMSEVENTH MONTHLY FEE APPLICATION
                   FOR THE PERIOD FROM FEBRUARY 1, 2008 THROUGH 29, 2008




              The Debtors consist of   the following 62 entities: W. R. Grace & Co. (fia Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn.,
A. i Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Cororation, Amicon, Inc.,.CB Biomedical, Inc. (fia Circe Biomedical, Inc.), CCHP,
Inc., Coalgrace, Inc., Coalgrace 11, Inc., Creative Food ::N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
(tlk/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parters I, Inc. (fia Grace Cocoa Limited Parners I, Inc.), G C
Management, Inc. (fia Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New
                                                                                    Cuba, Grace Culinar Systems, Inc., Grace Drllng
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of

Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services
Corpration, Grace Interational Holdings, Inc. (fia Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace

Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R.
Grace Land Corporation, Gracoal, Inc., Greoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco
International, Inc., Kootenai Development Company. L B Realty, Inc., Litigation Management, Inc. (f/kla GHSC Holding, Inc., Grace JVH, Inc.,
Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Stret, Inc., MRA Holdings Corp. (flka Nestor-BNA Holdings Corporation).
MRA Intermedco, Inc. (f1k/a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (fla British Nursing Association, Inc.), Remedium Group, Inc. (f1k/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
Corporation, Axial Basin Ranch Company, CC Parners (f/k/a Cross Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




52000.57/432720
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                       EXHmIT A
                        (Fee Detail)
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                                              CASNER & EDWARDS, LLP
                                                ATTORNEYS AT LAW
                                               303 CONGRESS STREET
                                           BOSTON, MASSACHUSETTS 02210
                                                      F.I.N. XX-XXXXXXX


                                                                                  April 1, 2008
                                                                                  Bil Number 16595
                                                                                  File Number 0052000-0000043

Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W.R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Litigation and Litigation Consulting

LEGAL SERVICES

Through February 29, 2008
                                                                                              Time              Value
   Date Attv       Description

02/03/08 RAM       Read updated bankruptcy court docket entries to select                  0.20 Hrs           $59.00
                   documents to read.
02/05/08 ARA       Quality control documents in the production set                         6.50 Hrs          $715.00
                   previously produced to Personal  Injury Creditors
                   Committee.
                   Qualiy control documents in the production set                          2.40 Hrs          $264.00
02/06/08 ARA
                   previously produced to Personal           Injury Creditors
                   Committee.
                   Quality control documents in the production set                         2.80 Hrs          $308.00
 02/07/08 ARA
                   previously produced to Personal  Injury Creditors
                   Committee.
                   Qualiy control documents in the production set                          6.50 Hrs          $715.00
 02/08/08 ARA
                    previously produced to Personal          Injury Creditors
                    Committee.
 02/11/08 ARA       Quality control documents in the production set                        6.70 Hrs          $737.00
                    previously produced to Personal  Injury Creditors
                    Committee.




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Mark A. Shelnitz

Re: Litigation and Litigation Consulting

   Date    Attv    DescrIption                                                                   Time               Value
02/12/08 ARA       Quality control documents in the production set                            6.30 Hrs            $693.00
                   previously produced to Personal  Injury Creditors
                   Committee.
02/13/08 ARA       Quality control documents in the production set.                           6.70 Hrs            $737.00
02/14/08 RAM       Read selected documents filed in bankruptcy court (.3).                    0.60 Hrs            $177.00
                   Read updated bankruptcy court docket entries to select
                   documents to read (.3).
02/14/08   ARA     Quality control documents in the production set.                           6.80 Hrs            $748.00
02/15/08   ARA     Quality control documents in the production set.                           4.80 Hrs            $528.00
02/19/08   ARA     Quality control documents in the production set.                           7.50 Hrs            $825.00
02/20/08   RAM     Email from MTM re: in-house counsel's inquiry re:                          0.05 Hrs          No charge
                   documents concerning sales outside U.S.
02/20/08 MTM       Telephone call from in-house counsel re: boxes of sales                    0.20 Hrs             $51.00
                   outside U.S. documents.
02/20/08 ARA       Quality control documents in the production set (4.7). Per                 5.20 Hrs            $572.00
                   telephone call from MTM, search for and obtain sales
                   outside U.S. boxes of documents, per in-house counsel's
                   request (.5).
02/25/08 ARA       Quality control documents in the production set.                           5.50 Hrs            $605.00
02/26/08 ARA       Quality control documents in the production set.                           6.80 Hrs            $748.00
02/28/08 MTM       Telephone call from in-house counsel re: boxes of sales                    0.20 Hrs             $51.00
                   outside U.S. documents.
02/28/08 ARA       Document control (.7). Quality control documents in the                    6.70 Hrs            $737.00
                   production set previously produced to Personal               Injury

                   Creditors Committee (6.0).
02/29/08 RAM       Read updated bankruptcy court docket entries to select                     0.20 Hrs             $59.00
                   documents to read (.1). Read selected documents filed in
                   bankruptcy court (.1).
02/29/08 MTM       Review boxes of sales outside U.S. documents at                            1.60 Hrs            $408.00
                   Winthrop Square (1.4); telephone call to in-house
                   counsel re: same (.2).
02/29/08 ARA       Quality control documents in the production set                            6.60 Hrs            $726.00
                   previously produced to Personal Injury Creditors
                   Committee.
                                                                             TOTAL LEGAL SERVICES               $10,463.00




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Mark A. Shelnitz

Re: Litigation and Litigation Consulting


LEGAL SERVICES SUMMARY

ROBERT A. MURPHY                                1.00 Hrs   295/hr           $295.00
ROBERT A. MURPHY                                0.05 Hrs   295/hr      No charge
MATTHEW T. MURPHY                               2.00 Hrs   255/hr         $510.00
ANGELA R. ANDERSON                             87.80 Hrs   110/hr       $9,658.00
                                               90.85 Hrs               $10,463.00

                                                                    TOTAL THIS BILL           $10,463.00




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                                        CASNER & EDWARDS, LLP
                                           ATTORNEYS AT LAW
                                         303 CONGRESS STREET
                                    BOSTON, MASSACHUSETTS 02210
                                          F.I.N. XX-XXXXXXX


                                                                          April 1, 2008
                                                                          Bil Number 16596
                                                                          File Number 0052000-0000057
Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W.R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Fee Applications, Applicant

LEGAL SERVICES

Through February 29, 2008

  Date Attv         Description                                                    Time                 Value
02/01/08 RAM        Work on December fee application (.2); send it to           0.30 Hrs             $88.50
                    in-house counsels to review (.1).
02/04/08 RAM        Email from in-house counsel that fee application may be     0.05 Hrs          No charge
                    fied.
02/07/08 RAM        Finalize December fee application and send to Delaware       0.20 Hrs            $59.00
                    counsel to file.
02/12/08 RAM        Finalize quarterly fee application (.2); send it to Delaware 0.30 Hrs            $88.50
                    counsel to file (.1).
                                                                     TOTAL LEGAL SERVICES          $236.00

LEGAL SERVICES SUMMARY

ROBERT A. MURPHY                                    0.80 Hrs   295/hr           $236.00
ROBERT A. MURPHY                                    0.05 Hrs   295/hr         No charge




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Mark A. Shelnitz

                                        0.85 Hrs                    $236. 00


                                                           TOTAL THIS BILL            $236.00




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                      EXHIBIT B
                      (Expense Detail)
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                                       CASNER & EDWARDS, LLP
                                         ATTORNEYS AT LAW
                                        303 CONGRESS STREET
                                    BOSTON, MASSACHUSETTS 02210
                                            F.L.N. XX-XXXXXXX


                                                                     April 1, 2008
                                                                     Bill Number 16597
                                                                     File Number 0052000-0000043
Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W.R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Litigation and Litigation Consulting


DISBURSEMENTS
Through February 29, 2008


FEDERAL EXPRESS
02/13/08 To 777 S Figueroa St, Wade Ackerman from Casner &                    51.07
            Edwards on January 08, 2008 by MTM.
                                                                                            $51.07

OUTSIDE PHOTOCOPYING
02/11/08 MERRILL COMM - Copy of Libby personnel file requested by 36.38
            in-house counsel (1/24/08)
                                                                                            $36.38

PHOTOCOPYING
02/06/08 19 copies at .10 per copy                                             1.90
                                                                                              $1.90

RENT REIMBURSEMENT
02/07/08 Rent and utilties for document repository at One Winthrop       12,308.95
          Square - February 2008.
                                                                                         $12,308.95




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Mark A. Shelnitz

Re: Litigation and Litigation Consulting


DISBURSEMENTS
Through February 29, 2008

MISCELLANEOUS
02/12/08 RECORD             KEEPER ARCHIVE-Storage 2/1/08 through               402.60
                  2/29/08
                                                                                           $402.60
                                                                TOTAL DISBURSEMENTS             $12,800.90

                                                                       TOTAL THIS BILL          $12,800.90




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                             IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE


In re:                                                    )       Chapter 11
                                                          )
W.R. Grace & Co., et al.                                  )       Case No. 01-1139 (JKF)
                                                          )       Jointly Administered
                             Debtors.                     )
                                                          )


                                        AFFIDAVIT OF SERVICE


                      Linda M. Ells being duly sworn according to law, deposes and says that she is

employed by the law firm of Pachulski Stang Ziehl & Jones LLP and that on the 8th day of April,

2008, she caused a copy of        the following documents to be served upon the following service

list(s) in the manner indicated:



                             Seventy-Seventh Monthly Application of Casner & Edwards, LLP for
                             compensation for Services and Reimbursement of Expenses as Special
                             Litigation Counsel to the Debtors for the Period from
                             February 1, 2008 through February 29, 2008




                                             ~liS~- t~
Sworn to and subscribed before
me t.liis 8th day of April, 2008


                                                              MARY E. CORCORAN
                                                                NOTARY PUBLIC
                                                              STATE OF DELAWARE
                                                         My commission expires Nov. 4, 20
My Commission Expires:                  1/ #Lóc¡


91100-001\DOCS_DE:8S961.90
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Grace Fee Application Servce List              Federal Express and E-mail:
Case Number: 01-1139 (JKF)                     willam.sparksgrace. com
Document Number: 45804                         (W.R. Grace & Co.)
01 - Hand Delivery                             Mark Shelnitz
02 - Federal Express                           W.R. Grace and Co.
10- E-Mail                                     7500 Grace Drive
                                               Columbia, MD 21044

(Counsel to Debtors and Debtors in             E-mail: nelassman(jbavardfirm.com
Possession)                                    (Local Counsel to DIP Lender)
Laura Davis Jones, Esquire                     Neil Glassman, Esquire
James E. O'Neil, Esquire                       The Bayard Firm
Pachulski Stang Ziehl & Jones LLP
919 Nort Market Street, 17th Floor             E-mail: meskin(jJieLcamlev.com
P.O. Box 8705                                  (Local Counsel to Asbestos Claimants)
Wilmington, DE 19899-8705                      Marla Eskin, Esquire
                                               Campbell & Levine, LLC
(Parcels)
Vito i. DiMaio                                 E-mail: ttacconellilferrv;oseDh.com
Parcels, Inc.                                  (Counsel for Property Damage Claimants)
10th & King Streets                            Theodore Tacconelli, Esquire
P.O. Box 27                                    Ferry & Joseph, P.A.
Wilmington, DE 19899
                                               E-mail: mlastowski(jJiuanemorris.com
Hand Delivery                                  (Counsel to Official Committee of
(United States Trustee)                        Unsecured Creditors)
David Klauder, Esquire                         Michael R. Lastowski, Esquire
Offce ofthe United States Trustee              Duane, Morrs & Heckscher LLP
844 King Street, Room 2311
Wilmington, DE 19801                           E-mail: currier(klettroonev.com
                                               (Counsel for Official Committee of
                                                                                               Equity
Federal Express                                Holders)
(Fee Auditor)                                  Teresa K.D.Curer, Esquire
Warren H. Smith                                Klett Rooney Lieber & Schorling
Warren H. Smith & Associates
Republic Center                                E-mail: Dvnl(j.capdale.com
325 N. S1. Paul                                (Offcial Committee of
                                                                                    Personal Injur
Suite 1275                                     Claimants)
Dallas, TX 75201                               Elihu Inselbuch, Esquire
                                               Caplin & Drysdale, Chartered
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E-mail: isakalo(ihilzin.com
(Offcial Committee of  Property Damage
Claimants)
Scott L. Baena, Esquire
Bilzin Sumberg Dunn Baena Price &
Axelrod LLP

E-mail: caroLhennessewJw.com
(Counsel to DIP Lender)
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E-mail: JJbentlewkramerlevin.com
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Holders)
Philip Bentley, Esquire
Kramer Levin Naftalis & Franel LLP
